                                               3:21-cv-00153-JMK




Case 3:21-cv-00153-JMK Document 1 Filed 06/25/21 Page 1 of 7
Case 3:21-cv-00153-JMK Document 1 Filed 06/25/21 Page 2 of 7
Case 3:21-cv-00153-JMK Document 1 Filed 06/25/21 Page 3 of 7
Case 3:21-cv-00153-JMK Document 1 Filed 06/25/21 Page 4 of 7
Case 3:21-cv-00153-JMK Document 1 Filed 06/25/21 Page 5 of 7
Case 3:21-cv-00153-JMK Document 1 Filed 06/25/21 Page 6 of 7
Case 3:21-cv-00153-JMK Document 1 Filed 06/25/21 Page 7 of 7
